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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


  JOHN THOMAS and KAREN THOMAS,              HON. JEROME B. SIMANDLE

                    Plaintiffs,            Civil No. 07-3597 (JBS/KMW)

        v.
                                                       OPINION
  CMI TEREX CORPORATION,

                    Defendant.


 APPEARANCES:

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 SIMANDLE, District Judge:

 I.    INTRODUCTION

       Plaintiffs, John Thomas and his wife, Karen Thomas, have

 brought suit following an accident involving a PR-800-7 Cold

 Planer (“PR-800-7"), an asphalt milling machine, that allegedly

 left Mr. Thomas severely injured.        Plaintiffs allege that the

 milling machine, designed and manufactured by Defendant CMI Terex

 Corporation, had a design defect that required Mr. Thomas to

 remain close to the machine’s batteries while he attempted to
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 recharge them.1     Plaintiffs also allege that Mrs. Thomas is

 entitled to damages for loss of consortium due to Mr. Thomas’

 accident.

       Presently before this Court are five motions.          Plaintiffs

 have moved in limine to preclude the testimony of Defendant’s

 proposed technical expert Randall Bills [Docket Item 27] and for

 partial summary judgment against Defendant on the issue of a

 reasonable safer design [Docket Item 28].         Defendant has

 submitted two motions in limine to preclude Plaintiffs’ proposed

 technical expert George “Ted” Page [Docket Item 33] and medical

 expert Dr. James Hewitt [Docket Item 49].         Defendant further

 moves for summary judgment against Plaintiffs [Docket Item 34].

       For the reasons set forth below, the Court will deny

 Defendant’s motion to preclude the expert testimony of Mr. Page,

 but grant in part its motion to preclude the expert testimony of

 Dr. Hewitt.    The Court will likewise deny Plaintiffs’ motion to

 preclude Mr. Bills’ testimony.       Finally, the Court will deny both

 motions for summary judgment, except to the extent that

 Plaintiffs have voluntarily withdrawn their failure-to-warn

 claim.




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        Plaintiffs also alleged, but have subsequently voluntarily
 dismissed, a failure-to-warn claim.

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 II.   BACKGROUND

       A.     Facts

       On the morning of August 2, 2005, Plaintiff John Thomas, at

 that time a mechanic for Statewide Hi-Way Safety Company, was

 called to Hammonton, New Jersey, because the PR 800-7 milling

 machine at Hammonton High School would not start.             (John Thomas

 Dep. May 14, 2008 at 26, 50).         Mr. Thomas was familiar with the

 PR 800-7.     The previous week Statewide had similarly sent Mr.

 Thomas to work on the same milling machine and he had started it,

 fueled it, greased it, and replaced its cutting teeth.             (Id. at

 52-53.)     Mr. Thomas had also read the operation and maintenance

 manual for the machine.       (Id. at 28-29.)

       The PR 800-7 has an operation and maintenance manual that

 outlines the method for “boosting” the milling machine’s

 batteries.     (Operation Manual at 6-7.)        The instructions begin

 with a list of warnings:

            Batteries   give   off    flammable    fumes    that   can
            explode.

            Prevent sparks near the batteries.     They could
            cause vapors to explode. Do not allow jumper cable
            ends to contact each other or the machine.

            Do not smoke   when      checking   battery    electrolyte
            levels.

            Electrolyte is an acid and can cause             personal
            injury if it contacts skin or eyes.

            Always wear eye protection when starting a machine
            with jumper cables.


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          Improper jump procedures can cause an explosion
          resulting in personal injury.

          Always connect battery positive (+) to battery
          positive (+) and battery negative (-) to machine
          frame.

          Jump only with a battery source and with the same
          voltage as the stalled machine.

          Turn off all lights and accessories on the stalled
          machine.   Otherwise, they will operate when the
          jump source is connected.

 (Id. at 6.)

       After turning off the stalled machine and the boosting

 machine, a mechanic is instructed to connect the positive jumper

 cable to the positive cable terminal of the discharged battery

 set of the stalled machine, while the other end is connected to

 the positive terminal of the boost battery set.          (Id. at 7.)    The

 negative jumper cable must be connected to the negative boost

 battery terminal and then to the frame of the stalled machine

 away from the battery.      (Id.)   In the PR 800-7, the positive

 cable terminal is attached to battery.         (Id.)   The instructions

 then provide for a period to charge the batteries and then direct

 the mechanic to attempt to start the milling machine.           (Id.)   If,

 after several failed attempts, the machine does not start, the

 instructions tell the mechanics to “[t]roubleshoot to find the

 reason the engine would not crank.”        (Id.)   The instructions do

 not warn of any danger to remaining in the milling machine or

 next to the batteries while charging nor do they instruct the


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 mechanic to leave the battery compartment while charging.

 (Id. at 6-7.)

        On arriving at the high school, Mr. Thomas worked to

 recharge the batteries on the milling machine.          The PR 800-7 was

 powered by two 12-volt lead-acid batteries located in two

 compartments under the floor of the machine’s engine compartment,

 covered by two removable plates.         (John Thomas Dep. May 14, 2008

  at 75-76.)    Mr. Thomas began his work by visually inspecting the

 batteries and measuring their voltage.         (Page Report at 10-11.)

 He then charged each battery in turn, by attaching charging

 cables from his truck and letting it charge for ten to fifteen

 minutes.    (Id. at 11.)     The milling machine still would not

 start, so Mr. Thomas used a recharging machine, called the Start-

 All.    (Id.) Mr. Thomas continued to be unable to start the

 milling machine.     (Id.)

        Having unsuccessfully attempted to start the milling

 machine, Mr. Thomas eventually became concerned that he did not

 have a good connection.       (John Thomas Dep. May 14, 2008 at 131-

 32.)    He wiggled the positive cable clamp attached to the

 charging terminal (and not the battery) and then wiggled the

 negative cable clamp with his right hand, all while the Start-All

 was running.    (Id. at 132-33.)     At this point he saw a “pretty

 good-sized spark,” followed by a flash, and as he tried to get

 off his hands and knees, a piece of something came flying at him.


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 (Id. at 133.)     Mr. Thomas believes he was hit by a piece of the

 battery, injuring his wrist, and then he felt a force that

 propelled him backward, causing him to hit some portion of the

 milling machine.     (Id. at 133-34, 146-47.)      Mr. Thomas also

 remembers hitting his head on something.         (Id. at 135-38.)     Mr.

 Thomas did not wear protective goggles while working on the PR

 800-7 batteries, despite having seen warnings on batteries about

 wearing eye protection while working with batteries.           (Id. at 81-

 83.)

        B.   Proposed Expert Reports

             1.    Plaintiffs’ Engineering Expert: George “Ted” Page

        Plaintiffs propose to offer the testimony of George “Ted”

 Page, an electrical engineer.       Mr. Page has prepared a report

 that opines that the PR 800-7 is defectively designed because it

 requires a mechanic who is boosting the batteries to come

 dangerously close to those batteries, in a confined space.            (Page

 Report at 16-33.)     Mr. Page proposes a safer alternative design

 that would place the battery recharging terminals “outside the

 machine’s engine compartment, with heavy steel panels between the

 mechanic and the battery compartment.”         (Id. at 20, 33-39.)     This

 alternative design, according to Mr. Page, is used by the Case

 465 Skid Steer Series 3 mini front-loader and is affordable.

 (Id. at 33-39.)     Mr. Page finally concludes that the defect in

 design caused Mr. Thomas’ injuries and could have been prevented


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 by Mr. Page’s safer alternative design.         (Id. at 39-40.)

       Mr. Page bases his opinions on what he describes as

 recognized standards for risk and hazard assessment, his

 experience, and review of various depositions prepared for this

 case.

             2.     Plaintiffs’ Medical Expert: Dr. James Hewitt

       Dr. James Hewitt, Mr. Thomas’ treating psychiatrist since

 September 19, 2005, is Plaintiffs’ proposed medical expert.            Dr.

 Hewitt has diagnosed Mr. Thomas with cognitive disorder and mood

 disorder secondary to a head injury, as well as anxiety disorder

 (not otherwise specified) and post traumatic stress disorder (in

 remission).      (Hewitt Report at 16.)    Dr. Hewitt opines that Mr.

 Thomas received his head injury as a result of the August 2, 2005

 accident.    (Id. at 1.)    Dr. Hewitt bases his opinions on his 37

 clinical evaluations of Mr. Thomas, the Diagnostic and

 Statistical Manual of Mental Disorders (“DSM”) IV, his treatment

 of other individuals with traumatic brain injuries, his review of

 literature on the subject as well as medical records relating to

 Mr. Thomas, and his training, education and experience.           (Id. at

 6, 18.)

       In addition, during his deposition, Dr. Hewitt testified

 that Mr. Thomas suffers from specific brain injuries to several

 parts of his brain.      (Hewitt Dep. at 66.)     Dr. Hewitt further

 opined that this organic brain injury was caused by the force of


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 the explosion leading to a “jostling of the brain” called a

 “contracoup.”     (Id. at 74-76.)

             3.    Defendant’s Engineering Expert: Randall Bills

       Defendant offers the expert engineering testimony of Randall

 E. Bills for the sole purpose of establishing the cause of the

 battery explosion and not to establish the cause of Mr. Thomas’

 injuries.    Mr. Bills, as Senior Technical Consultant to SEA,

 Ltd., prepared a report in which he opines that, based on

 deposition testimony and his examination of the machine at issue,

 there was no malfunction in the milling machine that caused or

 contributed to the battery explosion, that no defect in the

 battery system caused the explosion, that had Mr. Thomas followed

 the procedures in the Operations Manual, or heeded its warnings,

 the accident would have been prevented, and that Mr. Thomas’

 actions caused the battery explosion to occur.          (Bills Report at

 1.)   Mr. Page opines in his report that Mr. Thomas caused the

 batteries to explode by moving the negative clamp and that his

 failure to follow the procedure and warnings in Operations Manual

 (to keep sparks from the batteries) caused the explosion.            (Id.

 at 7, 17.)    Mr. Bills concludes his report: “The design of the

 battery compartment and battery cables was not defective and did

 not cause this explosion to occur.”        (Id. at 17.)

       At a Daubert hearing held on September 9, 2009, Mr. Bills

 further elucidated both his methodology, the bases for his


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 opinions, and his extensive experience in the field of electrical

 engineering in general and battery explosions in particular.             Mr.

 Bills explained that he came to his ultimate conclusion that Mr.

 Thomas’s conduct was the sole cause of the battery explosion by

 applying the scientific method outlined in National Fire

 Protection Association (“NFPA”) 921: Guide for Fire & Explosion

 Investigations (a recognized guide prepared by a committee of

 which Mr. Bills is a member) and systematically eliminating other

 possible causes.     To do so, Mr. Bills examined the PR 800-7 in

 question and reviewed various documents including depositions for

 the present action, engineering drawings, operation and service

 manuals for various machines, expert reports and medical records.

 (Bills Report at 2-3.)

       B.    Procedural History

       On August 1, 2007, Plaintiffs filed their complaint alleging

 strict liability for a design defect, failure to warn, and loss

 of consortium on behalf of Plaintiff Karen Thomas.           Following

 completion of discovery, Plaintiffs filed their motion in limine

 to preclude the testimony of Defendant’s proposed technical

 expert Randall Bills and moved for partial summary judgment

 against Defendant on the issue of a reasonable safer design.

 Defendant then submitted two motions in limine to preclude

 Plaintiffs’ proposed technical expert George “Ted” Page and

 medical expert Dr. James Hewitt.         Defendant further moved for


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  summary judgment against Plaintiffs.

        On September 9, 2009, the Court held a Daubert hearing

  solely on the motion to preclude the testimony of Mr. Bills,

  after observing that unlike the other proposed experts, the Court

  did not have the benefit of Mr. Bills’ deposition.          Following Mr.

  Bills’ testimony, the Court heard oral argument on all five

  motions and reserved decision.

  III. DISCUSSION

        A.    Products Liability Law

        These motions arise under New Jersey law2 in the context of

  a strict liability claim for design defect.         A brief review of

  the elements of this claim is warranted.

        To establish a strict liability claim for design defect,

  Plaintiffs must satisfy the following elements:

             (1) the product was defective; (2) the defect
             existed when the product left the hands of the
             defendant; and (3) the defect caused the injury to
             a reasonably foreseeable user.

  Jurado v. Western Gear Works, 619 A.2d 1312, 1317 (N.J. 1993).

  And in addition, in a design defect case, “plaintiff must show

  specifically that the product is not reasonably fit, suitable and



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         Both parties assume, and the Court agrees, that New Jersey
  law should govern this diversity action, even assuming there is a
  conflict between Delaware and New Jersey law, because New Jersey
  has the most significant interest in this action where the
  alleged tort and the resulting injury both occurred in New Jersey
  by Delaware defendants against a New Jersey plaintiff. See P.V.
  ex rel. T.V. v. Camp Jaycee, 962 A.2d 453 (N.J. 2008).

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  safe for its intended or reasonably foreseeable purposes.”           Id.

        B.    Motions to Preclude Expert Testimony

        The Court will begin with the evidentiary motions, as they

  impact the outcome of both motions for summary judgment.           The

  admissibility of expert witness testimony is governed by Rule

  702, Fed. R. Evid., and the Supreme Court’s decision in Daubert

  v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) and its

  progeny.    Rule 702 provides as follows:

        If scientific, technical, or other specialized knowledge
        will assist the trier of fact to understand the evidence
        or to determine a fact in issue, a witness qualified as
        an expert by knowledge, skill, experience, training, or
        education, may testify thereto in the form of an opinion
        or otherwise, if (1) the testimony is based upon
        sufficient facts or data, (2) the testimony is the
        product of reliable principles and methods, and (3) the
        witness has applied the principles and methods reliably
        to the facts of the case.

  Fed. R. Evid. 702.     As the Supreme Court explained in Daubert,

  district court judges perform a “gatekeeping role,” 509 U.S. at

  596, by assessing whether expert testimony is both relevant and

  methodologically reliable in order to determine whether it is

  admissible under Rule 702.      Id. at 590-91; see also Kumho Tire

  Co., Ltd. v. Carmichael, 526 U.S. 137, 146-47 (1999) (holding

  that Daubert extends to testimony about “technical or other

  specialized knowledge”) (internal quotations and citations

  omitted).

        Under the law of this Circuit, Daubert and Rule 702 call

  upon the Court to examine the admissibility of expert testimony

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  in light of three factors: the qualifications of the expert, the

  reliability of his or her methodology and the application of that

  methodology, and whether the testimony fits the matters at issue

  in the case.    In re Paoli R.R. Yard PCB Litig., 35 F.3d 717,

  741-43 (3d Cir. 1994).      With regard to the qualifications prong,

  the Court of Appeals has explained that an expert’s

  qualifications should be assessed “liberally,” recognizing that

  “a broad range of knowledge, skills, and training qualify an

  expert as such.”     Id. at 741 (also noting that “[w]e have

  eschewed imposing overly rigorous requirements of expertise and

  have been satisfied with more generalized qualifications”).

        In addition to being qualified to testify in an expert

  capacity, an expert witness whose testimony is offered by a party

  must base her opinions on reliable methodology.          The Court of

  Appeals explained in Paoli that

        Daubert explains that the language of Rule 702 requiring
        the expert to testify to scientific knowledge means that
        the expert’s opinion must be based on the methods and
        procedures of science rather than on subjective belief or
        unsupported speculation; the expert must have good
        grounds for his or her belief. In sum, Daubert holds
        that an inquiry into the reliability of scientific
        evidence under Rule 702 requires a determination as to
        its scientific validity.

  Id. at 742 (internal quotations and citations omitted).

  Recognizing that the “inquiry as to whether a particular

  scientific technique or method is reliable is a flexible one,”

  the Court of Appeals has identified a nonexhaustive list of eight


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  factors that courts may address in determining whether an

  expert’s methodology is reliable.3       Id.; see also Heller v. Shaw

  Industries, Inc., 167 F.3d 146, 152 (3d Cir. 1999) (noting that

  the factors identified in Paoli serve as “useful guideposts, not

  dispositive hurdles that a party must overcome in order to

  have expert testimony admitted”); Kannankeril v. Terminix

  Intern., Inc., 128 F.3d 802, 806-07 (3d Cir. 1997) (noting that

  the Paoli factors are “neither exhaustive nor applicable in every

  case”).

        Finally, to be admissible under Rule 702, expert testimony

  must “fit,” or be relevant to, the facts at issue in the case.

  Paoli, 35 F.3d at 743.      “Because Rule 702 demands that the expert

  testimony assist the trier of fact, such testimony will be

  admissible only if the research is sufficiently connected to the

  facts and issues presented in a given case.”         Suter v. General

  Acc. Ins. Co. of America, 424 F. Supp. 2d 781, 787 (D.N.J. 2006)


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          The factors identified by the Court of Appeals for
  assessing the reliability of an expert’s methodology are:

        (1) whether a method consists of a testable hypothesis;
        (2) whether the method has been subject to peer review;
        (3) the known or potential rate of error; (4) the
        existence and maintenance of standards controlling the
        technique’s operation; (5) whether the method is
        generally accepted; (6) the relationship of the technique
        to methods which have been established to be reliable;
        (7) the qualifications of the expert witness testifying
        based on the methodology; and (8) the non-judicial uses
        to which the method has been put.

  Paoli, 35 F.3d at 742, n.8.

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  (citing Paoli, 35 F.3d at 743).       In other words, Rule 702’s

  relevance standard requires that there be “a valid scientific

  connection” between the expert’s testimony and the facts and

  issues in the case in order for the expert’s testimony to be

  admissible.     Paoli, 35 F.3d at 743.

        As the Court of Appeals has made clear, the standard for

  admissibility under Rule 702 is “not that high.”          Id. at 745.

  Parties are not required to “prove their case twice – they do not

  have to demonstrate to the judge by a preponderance of the

  evidence that the assessments of their experts are correct, they

  only have to demonstrate by a preponderance of evidence that

  their opinions are reliable.”       Id. at 743.

             1.     Motion to Preclude Mr. Page’s Testimony

        Defendant seeks to preclude Mr. Page’s testimony on two

  grounds, namely, that Mr. Page is not qualified to give the

  proposed testimony regarding reasonable alternative design, and

  further that his methodology, and consequently his opinion, is

  not reliable and does not fit the facts of the case.          Presented

  as separate grounds, but relying on the same arguments, Defendant

  also maintains that Mr. Page’s testimony should be excluded under

  Rule 703 for an absence of reliable data, and under Rule 403 as

  more prejudicial than probative.         As will be further explained

  below, the Court concludes that Mr. Page is both sufficiently

  qualified to provide expert electrical engineering testimony and


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  that his opinion is sufficiently reliable to satisfy Rule 702 and

  Rule 703, and that this evidence is not unduly prejudicial under

  Rule 403 given its probative value.

                   (a)   Qualifications

        Defendant attacks Mr. Page’s qualifications largely on the

  grounds that he is not an expert in milling machines and has

  insufficient experience regarding the design of battery

  compartments.    Defendant points out that Mr. Page has not worked

  for a mobile construction company and suggests that he is not

  familiar with the range of designs within the milling machine

  industry.    Finally, Defendant states that Mr. Page has not

  previously been qualified as an expert in the field of milling

  machines or battery explosions involving the design of electrical

  systems.    The Court finds, however, that Defendant seeks to hold

  Mr. Page to a higher standard than is required by Rule 702 and

  this Circuit’s jurisprudence.

        Mr. Page is qualified as an expert in the field of

  electrical design and engineering.        Mr. Page is an electrical

  engineer with over twenty years of experience, including three

  years working for Honeywell Avionics as a reliability, design,

  and safety engineer for a space shuttle and a submarine-launched

  ballistic missile.     (Page Report at 44.)      Since 1992, he has been

  Vice-President of Lluvia, Inc., performing electrical and

  forensic engineering and electrical product design and


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  manufacturing, along with litigation support.         (Id.)   He has

  provided expert support in litigation involving battery failure

  and explosion, power systems, both commercial and industrial, and

  risk assessment and risk reduction.        (Id. at 45.)    The Third

  Circuit employs a “liberal approach to admitting expert

  testimony.”    Holbrook v. Lykes Bros. S.S. Co., 80 F.3d 777, 782

  (3d Cir. 1996).    Thus, the Court may not preclude testimony

  “simply because [the Court] does not deem the proposed expert to

  be the best qualified or because the proposed expert does not

  have the specialization that the court considers most

  appropriate.”    Id.    Construing Mr. Page’s experience and

  education “liberally,” his “generalized qualifications” satisfy

  the requirement of expertise for the purposes of this case --

  examining the design of the battery compartment and offering an

  alternative design.      See Paoli, 35 F.3d at 741.

                    (b)   Reliability

        Defendant argues that Mr. Page’s report and expert opinion

  are not reliable because he has not tested his theories nor

  subjected them to peer review or publication, because he relies

  on a risk standard that did not exist when the milling machine

  was designed and manufactured in 1994, because there is no

  evidence that his theories are generally accepted in the

  scientific community, because his opinions were developed for

  this litigation, and because he did not investigate the cause of


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  the battery explosion.      Despite this laundry list of alleged

  flaws, the Court finds that Mr. Page’s proposed testimony is

  sufficiently reliable to satisfy Rule 702.

        Mr. Page used a reliable methodology that produced a

  reliable opinion.     Mr. Page used Mr. Thomas’ deposition and

  photographs of the milling machine in question, along with the PR

  800-7 Operations Manual (on which Defendant and Defendant’s

  expert similarly rely) to determine the circumstances of the

  accident and the design of the subject milling machine.           (Page

  Report at 7-11.)     He reviewed the “well-known, long-standing, and

  recognized industry rules for the design and manufacture of all

  products” emphasizing health and safety, including the National

  Society of Professional Engineers (“NSPE”), the Institute of

  Electrical and Electronics Engineers (“IEEE Code of Ethics”),

  MIL-STD 882 (“the originator of the concept of system safety in

  the 1960s, and the progenitor of many system safety standards in

  use today”), and the ANSI B11.TR3-2000 (“a current standard that

  is widely used today”).      (Id. at 15-16.)

        Mr. Page took these general principles and applied them to

  the present case.     Specifically, he applied the “generally

  accepted industry standards” for hazard analysis and risk

  reduction in product design and manufacture, the ANSI B11.TR3-

  2000.   (Id. at 16-21.)     Though formally introduced in 2000, Mr.

  Page notes that “the principles and rules set forth [in the ANSI


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  B11.TR3-2000] existed and were in use prior to the design and

  manufacturing of [the PR 800-7]” and further that “similar well-

  recognized rules for hazard analysis, risk assessment, and risk

  reduction” existed when the PR 800-7 was designed.          (Id. at 21.)

  The methodology is straightforward, requiring the engineer to

  determine the limits of the machine (step one), identify the risk

  (step two), measure the severity of potential harm (based on the

  “worst credible severity”) and the probability that harm will

  occur (steps three and four), and from these estimate the level

  of risk and look to the risk reduction hierarchy (step five).

  (Id. at 16-20.)

        Following these steps, Mr. Page observed that the space

  within the milling machine is very limited for a person boosting

  batteries (step one), the hazard is injury resulting from a

  battery explosion while boosting (step two) and the worst

  possible harm from such an explosion would be “catastrophic,”4

  meaning it could cause death or permanent disabling injury (step

  three).   (Id. at 17-18.)     Mr. Page stated that, despite the high

  level of a mechanic’s training, the confined work space with no

  protective measures made the probability of occurrence of harm



        4
         Potential harm is ranked as “catastrophic” (death or
  permanently disabling injury or illness - unable to work),
  “serious” (severe debilitating injury or illness - able to return
  to work), “moderate” (significant injury or illness - able to
  return to same job), and “minor” (no injury or slight injury).
  (Page Report at 18).

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  “likely”5 (step four).     (Id. at 19.)    Taken together, Mr. Page

  found the risk estimation rating to be “high,” making the risk

  “unacceptable” and requiring risk reduction.6         (Id. at 20.)

  Where, as here, a machine can be designed to avoid the high risk,

  industry standards do not permit the use of only warnings to

  protect against such risk.      (Id. at 20-25.)     This led Mr. Page to

  conclude that the PR 800-7 was defectively designed.          (Id. at

  31.)

         Mr. Page concluded that a safer alternative design was

  available in the form of external charging terminals to be

  mounted on the exterior of the machine.        (Id. at 33.)     Mr. Page

  explained that by moving the charging terminals to the outside of

  the milling machine while a mechanic is actually charging the

  batteries, he is separated from them by heavy steel panels.            (Id.

  at 20, 39-40.)    He drew a simple schematic for the alternative


         5
         Probability of occurrence of harm is ranked as “very
  likely” (near certain to occur), “likely” (may occur), “unlikely”
  (not likely to occur), and “remote” (so unlikely as to be near
  zero). (Page Report at 19.)
         6
         At oral argument, defense counsel argued that Mr. Page’s
  conclusion that the risk estimation for the PR 800-7 is high was
  baseless, because Mr. Page could not point to any prior or
  subsequent similar battery explosion and injury from the PR 800-
  7. Mr. Page did discuss, however, the recognized dangers
  associated with batteries and the likelihood of battery explosion
  (a fact acknowledged by defense experts Randall Bills and John
  Phillips) to support his conclusion regarding the degree of the
  risk. (Page Report at 12-14.) While the overall successful
  history of the PR 800-7 certainly may provide an excellent tool
  for cross-examination, it does not preclude admission of Mr.
  Page’s testimony.

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  design and found a similar machine (though smaller), the Case 465

  Skid Steer Series 3 mini front-loader, that uses such a design –-

  a design made from parts that were available and technically

  feasible in the 1980s and early 1990s when Defendant designed and

  manufactured the PR 800-7.      (Id. at 33-39.)     Mr. Page purchased

  the parts and constructed a prototype for this design.           (Id. at

  33-37.)    Finally, Mr. Page concluded that had Defendant adopted

  his alternative design, Mr. Thomas would not have been injured.

  (Id. at 39-40.)

        Defendant argues that Mr. Page’s opinion is not reliable

  because it fails to meet certain of the factors listed in

  Daubert.    The Court rejects these arguments, as they ask the

  Court to rigidly apply the Daubert factors where rigid

  application is not appropriate.       Defendant maintains that Mr.

  Page should have tested his alternative design and should have

  tested the milling machine batteries to determine the cause of

  their explosion.7    Mr. Page explained, and the Court agrees, that


        7
         Defendant also criticizes Mr. Page for not using the
  milling machine itself. Mr. Page viewed detailed pictures of the
  milling machine and read Mr. Thomas’ deposition describing the
  machine and the accident. While Defendant is free to cross-
  examine Mr. Page regarding his first-hand knowledge of the
  machine, his methodology is sufficiently reliable to satisfy the
  Court in its function as gatekeeper. Nor will the Court require
  Mr. Page to speak in person with Mr. Thomas, the other witnesses
  or emergency personnel who arrived at the scene. The Court’s
  role is not to decide whether Mr. Page was a thorough as he could
  possibly have been, but instead to determine whether he meets the
  threshold requirements of Rule 702. See Oddi v. Ford Motor Co.,
  234 F.3d 136, 156 (3d Cir. 2000) (“The [reliability] test is not

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  the cause of the batteries’ explosion is immaterial to Mr. Page’s

  opinion.    (Page Dep. at 135-36.)       Mr. Page and Plaintiffs agree

  with Defendant that the exploding batteries were a cause of the

  accident.    In fact, central to Plaintiffs’ argument is that these

  lead-acid batteries are prone to explode, and so a machine using

  them should be designed to limit the danger of injury from such

  an explosion, regardless of the cause of the explosion.           (Page

  Dep. at 135-36; Page Report at 12-15.)        It was not necessary for

  Mr. Page to determine through testing or any other means why the

  batteries exploded.

        Nor was Mr. Page required to test the alternative safer

  design, not one created by Mr. Page but one already in use on a

  similar (if smaller) piece of machinery, providing sufficient

  reliable proof that this alternative design (extremely simple, to

  the point of needing very little explanation) was feasible and

  effective.    See Lindsey v. Caterpillar, Inc., No. 03-5762, 2007

  WL 1816105, at *4-5 (D.N.J. June 22, 2007) (finding use of

  expert’s proposed alternative design in similar product was an

  indicia of reliability without testing of alternative design);

  Milanowicz v. The Raymond Corp., 148 F. Supp. 2d 525, 533 (D.N.J.

  2001) (“In alternative design cases, evidence of industry

  practice may help negate criticism based on lack of testing.”).



  ‘[w]hether the ... expert might have done a better job.’”)
  (quoting Kannankeril, 128 F.3d at 809).

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        Mr. Page further explained how the external terminals would

  connect to the PR 800-7, illustrating and explaining his

  conclusions with photographs of the actual machine and the actual

  alternative device, as well as his own diagram.          (Page Report at

  33-39.)   Moreover, Defendant’s own designer and the designer of

  the PR 800-7 testified that there was no technical reason why an

  external charging terminal could not be included on the PR 800-

  7.8   (Phillips Dep. at 164.)     Finally, Mr. Page explained that

  the heavy metal plates between the mechanic and the batteries

  while the batteries are charging would protect the mechanic, a

  theory not requiring testing and supported by Mr. Phillips’ own

  testimony (“. . . if you cause a spark there at your remote

  terminal and your batteries, discharged batteries are way over

  here, obviously you’re going to be okay”).         (Page Report at 20;

  Phillips Dep. at 166-67.)      Mr. Page’s expert opinion is not

  inadmissible for failure to test his proposed alternative design.

        The Court will quickly address Defendant’s remaining

  arguments.    Mr. Page’s failure to submit his risk analysis and


        8
         Defendant points out that Mr. Phillips also submitted a
  report for this litigation, in which he states that Mr. Page’s
  alternative design is “not acceptable” because it “requires more
  components, creates more points of contact for maintenance
  workers, and results in more potential problems for those working
  in and around the machine.” (Phillips Report at 3.) It is
  unclear whether the “problems” Mr. Phillips is concerned about
  are equal in degree to the risk of severe bodily injury resulting
  from being in close quarters to an exploding battery.
  Regardless, mere disagreement between two qualified experts must
  be resolved by a jury and not the Court.

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  alternative design for the PR 800-7 battery boosting system for

  publication or peer review does not prevent admission of his

  expert testimony, where he used well-recognized (and

  straightforward) risk analysis tools and adopted an alternative

  design already used in the industry.        See Kannankeril, 128 F.3d

  at 809 (peer review and publication not necessary under Rule 702

  where expert does not present “novel” theory, but instead one

  generally accepted by the scientific community).          Mr. Page’s use

  of a specific risk analysis standard published in 2000, after the

  PR 800-7 was designed and manufactured, does not undermine his

  methodology, for Mr. Page explains at great length that the ANSI

  B11.TR3-2000 reflects a long-established and widely used process

  for hazard analysis (and one that Mr. Phillips, Defendant’s

  engineer, was familiar with), and so connected these engineering

  standards to the facts of the case.9       (Page Report at 21-32.)

        The Court also rejects Defendant’s suggestion that Mr.

  Page’s “theories” are not generally accepted by the scientific

  community, for his method of analysis uses well-recognized

  engineering standards and his alternative design is already at



        9
         Defendant cannot rely on Milanowicz, for in Milanowicz,
  the excluded expert merely listed engineering standards, but
  failed to apply them to the facts of the case (and further those
  standards did not support the expert’s conclusion). 148 F. Supp.
  2d at 537-38. Mr. Page, by contrast, thoroughly applied and
  analyzed relevant engineering standards for risk analysis, and
  those standards support his ultimate conclusion that the PR 800-7
  was defectively designed.

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  use in the industry.     Finally the mere fact that Mr. Page

  prepared his report for this litigation (just as Defendant’s

  expert, Mr. Bills, prepared his expert report purely for this

  litigation), does not undermine his otherwise reliable proposed

  testimony.    Both his method of analysis and his proposed

  alternative design preexisted this litigation.

                   (c)   Relevance

        In light of the above analysis, Mr. Page’s testimony should

  not be excluded for lack of “fit.”        In this design defect case,

  Mr. Page’s report reviewed the PR 800-7 using recognized

  engineering standards and found it both defective and subject to

  an alternative safer design, using reliable methods and based on

  his adequate expertise.10     Mr. Page’s proposed testimony is

  relevant to the task at hand.

                   (d)   Admissibility Under Rules 703 and 403

        Defendant argues that Mr. Page’s testimony should be

  excluded under Rule 703 because of an absence of reliable data to


        10
         The fact that Mr. Thomas could have removed the batteries
  from the milling machine before charging them, possibly reducing
  the allegedly dangerous design of the milling machine, does not
  make Mr. Page’s testimony irrelevant. The PR 800-7 Operation
  Manual instructions do not suggest that batteries should be
  removed from the machine before charging, and rather the
  instructions suggest to the contrary (instructing the mechanic to
  “connect positive jumper cable (red) to positive cable terminal
  of discharged battery set on stalled machine”). (Operations
  Manual at 7.) No one suggests that it is the common or expected
  practice of mechanics to remove batteries before recharging them.
  At best, this raises an issue of Mr. Thomas’ foreseeable misuse
  of the machine, to be decided by the jury.

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  support his opinion.     The Court finds that Mr. Page appropriately

  relied on photographs of the subject machine and detailed

  descriptions of the incident (as well as the machine itself),

  along with evidence of the feasibility of his alternative design

  as it operates on the Case machine, to justify admission under

  Rule 703.    Defendant also asks the Court to preclude Mr. Page’s

  opinion as more prejudicial than probative under Rule 403, but

  because the Court has found Mr. Page’s opinion to be sufficiently

  reliable and of a suitable fit to the facts of the case, the

  Court likewise declines to exclude Mr. Page’s opinion under Rule

  403.

              2.   Motion to Preclude Dr. Hewitt’s Testimony

         Defendant moves the Court to preclude Dr. Hewitt’s proposed

  testimony that Mr. Page suffers from a brain injury and that his

  injury is to four or five parts of Mr. Thomas’ brain because

  there are no neurological tests to support his opinions and

  further that all neurological tests that were performed on Mr.

  Thomas contradict his opinion, either by suggesting that Mr.

  Thomas is malingering regarding his symptoms or suggesting that

  Mr. Thomas’ symptoms are not the result of a brain injury.           Given

  the absence of testing, Defendant argues, Dr. Hewitt did not

  employ any methodology to support his conclusions.          Defendant

  maintains that Dr. Hewitt’s testimony should be precluded because

  it is inconsistent with the medical opinions of all other doctors


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  to examine Mr. Thomas.

        In addition, Defendant asks the Court to preclude Dr.

  Hewitt’s proposed testimony regarding the source of Mr. Thomas’

  purported brain injury, namely the August, 2005 milling machine

  accident, and the biomechanics of that injury, because Dr. Hewitt

  does not have sufficient expertise to testify on this subject and

  has not employed a reliable methodology to come to this

  conclusion.    For similar reasons, Defendant also seeks to

  preclude Dr. Hewitt’s testimony under Rules 703 and 403.           While

  the Court declines to preclude Dr. Hewitt’s testimony that Mr.

  Thomas suffers from psychiatric disorders caused by a head injury

  and that these disorders likely resulted from the August, 2005

  milling machine accident, the Court will preclude Dr. Hewitt’s

  testimony regarding the nature and biomechanics of this alleged

  injury.

                   (a)   Testimony that Mr. Thomas Suffers from a Head
                         Injury

        The essence of Defendant’s argument is that Dr. Hewitt’s

  entire opinion is unreliable because it is not specifically

  supported by neurological tests and is contradicted by some

  neurological tests and the opinions of other doctors.           Dr. Hewitt

  did, however, employ sufficiently reliable methodology to support

  his medical opinion, to a reasonable degree of certainty, that

  Mr. Thomas suffers from cognitive disorder and mood disorder

  secondary to a head injury in the context of this case, where

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  there is no dispute that Mr. Thomas was within the zone of impact

  of a serious battery explosion.       Dr. Hewitt engaged in what is

  commonly referred to as “differential diagnosis,”

  “a methodology or technique commonly used by . . . medical

  professionals in diagnosing an illness or medical condition and

  determining its cause.”      Yarchak v. Trek Bicycle Corp., 208 F.

  Supp. 2d 470, 497 (D.N.J. 2002).         The Third Circuit has

          recognized “differential diagnosis” as a technique
          that involves assessing causation with respect to a
          particular individual. Paoli, 35 F.3d at 758.
          Differential diagnosis is defined for physicians as
          “the determination of which of two or more diseases
          with similar symptoms is the one from which the
          patient is suffering, by a systematic comparison
          and   contrasting   of   the  clinical   findings.”
          STEDMAN'S MEDICAL DICTIONARY 428 (25th ed. 1990).
          The elements of a differential diagnosis may
          consist    of   the    performance   of    physical
          examinations, the taking of medical histories, and
          the review of clinical tests, including laboratory
          tests.   A doctor does not have to employ all of
          these techniques in order for the doctor's
          diagnosis to be reliable. See Paoli, 35 F.3d at
          759. A differential diagnosis may be reliable with
          less than all the types of information set out
          above.   See id.   Indeed, as [the Third Circuit]
          held in Paoli, “to the extent that the district
          court   concluded   otherwise   [  i.e.,   that   a
          differential diagnosis made on less than all types
          of information cannot be reliable], we hold that it
          abused its discretion.” Id.

  Kannankeril, 128 F.3d at 807.

        In the present case, Dr. Hewitt based his opinion that Mr.

  Thomas suffers from symptoms related to a brain injury on Dr.

  Hewitt’s own clinical evaluation of Mr. Thomas during

  approximately 37 visits over a period of over three years, guided

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  by his previous experience with patients suffering from head

  injuries, his own research into neurophysiology and neuroanatomy,

  and guided by the widely recognized diagnostic tools in the DSM

  IV.   Dr. Hewitt further ruled out the two most probable

  alternative explanations for Mr. Thomas’ medical difficulties --

  a pre-existing psychological or neurological condition or

  malingering.    With regards to a pre-existing condition, Dr.

  Hewitt explained: “In my meetings with Mr. Thomas, it became

  clear to me that there was evidence of a traumatic brain injury

  based on my experience with other individuals with traumatic

  brain injuries11 and my work with children whose deficits are not

  a function of brain injury but rather brain disfunction which is

  a result of genetic abnormality.”        (Hewitt Report at 6.)     He then

  listed and described Mr. Thomas’ symptoms consistent with

  traumatic brain injury (including speech disfluency, loss of

  taste, difficulty collecting his thoughts, loss of visual memory,

  and headaches), noting particular symptoms that are inconsistent

  with psychological disorders (inability to filter out background



        11
         Dr. Hewitt testified in his deposition that the bulk of
  his treatment practice involves treating injured workers who
  suffer from Post Traumatic Stress Disorder, chronic pain
  disorder, and head injuries. (Hewitt Dep. at 25.) Of those, Dr.
  Hewitt has treated five to ten patients since September, 2005 who
  suffered from head injuries due specifically to explosions. (Id.
  at 28.) Dr. Hewitt has been recognized as an expert for the
  purpose of distinguishing psychiatric disorders from traumatic
  brain injuries in the New Jersey Superior Court and Workers’
  Compensation Court. (Id. at 18-20.)

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  noise to focus on a primary conversation and Mr. Thomas’

  complaints of increased pressure in his head along with nausea

  and vomiting).    (Id. at 6-13.)     While Dr. Hewitt recognized that

  certain symptoms (in particular, anhedonia, an inability to enjoy

  things) could be caused by psychological disorder rather than

  organic brain injury, (id. at 6, 8), Dr. Hewitt was able to

  ultimately conclude to a reasonable degree of medical probability

  that Mr. Thomas has the DSM IV diagnoses of cognitive disorder

  secondary to head injury, mood disorder secondary to head injury,

  anxiety disorder (not otherwise specified), and post traumatic

  stress disorder in remission.       (Id. at 16.)

        Dr. Hewitt also addressed the possibility that Mr. Thomas is

  fabricating or exaggerating his symptoms, by directly responding

  to the opinions of Dr. McGowan and Dr. Mahalick, both

  neurologists who concluded that Mr. Thomas was malingering.            (Id.

  at 4-5, 13.)    Dr. Hewitt agreed with Dr. McGowan that there are

  “contradictions” with Dr. McGowan’s neurological test results,

  but explained these contradictions not as evidence of

  malingering, but instead as a reflection of Mr. Thomas’

  personality and the symptoms consistent with a brain injury.

  (Id. at 4.)    Dr. Hewitt also pointed to a neuropsychiatric

  evaluation by a Dr. Tobe, who similarly disagreed with Dr.

  McGowan’s conclusion that Mr. Thomas was malingering and

  diagnosed him with mood disorder and cognitive disorder secondary


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  to a brain injury.     (Id. at 5.)    Dr. Hewitt similarly addressed

  and disagreed with Dr. Mahalick’s testing methods as described by

  Mr. Thomas (though Dr. Hewitt did not have Dr. Mahalick’s report

  when Dr. Hewitt was preparing his own report), criticizing Dr.

  Mahalick’s treatment of Mr. Thomas, his use of a second round of

  testing soon after the first round (without giving Mr. Thomas

  time to recover), and finding Mr. Thomas’ difficulties during

  testing to reflect “Mr. Thomas’ slow processing speed and how his

  deliberate nature reflects his embarrassment over making mistakes

  and his wish to avoid mistakes.”          (Id. at 13.)   Dr. Hewitt

  thereby ruled out the possibility of malingering.

        The Court declines to exclude Dr. Hewitt’s testimony

  regarding Mr. Thomas’ psychiatric conditions secondary to a head

  injury based on a lack of objective neurological testing to

  support his opinion (or the inconsistent neurological testing).

  Dr. Hewitt did refer Mr. Thomas to Dr. McGowan,

  neuropsychologist, for neurological testing, and while Dr.

  McGowan dismissed those results as unreliable due to malingering,

  Dr. Hewitt disagreed with Dr. McGowan’s conclusions of

  malingering and found the results of the Block Design test to be

  consistent with brain injury.       (Id. at 4.)     Dr. Hewitt noted that

  a CT scan performed at Cooper Trauma Center immediately after the

  accident, as well as a later EEG and MRI did not indicate brain

  abnormalities.    (Hewitt Report at 1-2.)        Dr. Hewitt explained


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  that a “CT scan of the head at that time would be looking for

  gross abnormalities . . . [and] would not prove or disprove more

  subtle damage caused by the force of the explosion.”            (Id. at 2.)

  Defendant acknowledges that these tests “will not always detect a

  traumatic brain injury.”      (Defs. Reply Br. at 5.)      In

  Kannankeril, the Third Circuit concluded that test results

  inconsistent with an expert’s differential diagnosis raise “an

  issue of credibility, not admissibility.”         128 F.3d at 808.

  Similarly, here, “[i]t is for the jury to decide whether” the

  above neurological tests “yielding results within normal limits,

  outweighs the other factors relied upon by [Dr. Hewitt] and

  undermines his opinion.”      Id.

        Likewise, the Court cannot exclude Dr. Hewitt’s opinion

  because it is not adopted by numerous other doctors,

  neuropsychologists and others, who have examined and tested Dr.

  Hewitt.   Like the allegedly contradictory testing, contradictory

  medical opinions go to the weight a jury may give Dr. Hewitt’s

  opinion, not whether the Court should admit his testimony.           In

  other words, the Plaintiff does not have the burden in this

  motion to demonstrate that Dr. Hewitt’s opinion about the nature

  of his mental or emotional injuries is correct, but that it is

  sufficiently reliable, fit and helpful that a reasonable jury may

  find it to be correct.      The Court will therefore decline to

  preclude Dr. Hewitt’s testimony that Mr. Thomas suffers from a


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  cognitive disorder and a mood disorder secondary to a traumatic

  brain injury, for his method is sufficiently reliable to satisfy

  Rule 702.12

                   (b)   Testimony that Mr. Thomas’ Brain Injury was
                         Caused by the August 2nd Milling Machine
                         Accident

         Defendant seeks to preclude Dr. Hewitt’s opinion that Mr.

  Thomas’ brain injury results from the August 2nd milling machine

  accident on the grounds that Dr. Hewitt is not qualified to offer

  opinions in the fields of accident reconstruction and/or

  biomechanics and that the absence of evidence of a physical

  injury to Mr. Thomas’ head renders Dr. Hewitt’s opinion

  unreliable.    The Court finds that Dr. Hewitt could reliably

  conclude, based on the temporal proximity between accident and

  Mr. Thomas’ stated symptoms, that Mr. Thomas’ brain injury

  resulted from the accident.      However, as will be addressed below,

  the Court agrees with Defendant that Dr. Hewitt may not opine

  regarding the biomechanics of that neurological injury, for he



        12
         The Court will similarly decline to preclude Dr. Hewitt’s
  opinion that Mr. Thomas suffers from cognitive disorders
  secondary to a traumatic brain injury from the August 2nd milling
  machine accident under Rule 703, for absence of reliable data, or
  Rule 403, as unreasonably prejudicial, for Dr. Hewitt’s opinion
  was based on both reliable methodology and clinical evaluations
  making it of assistance to the jury in the defective design
  litigation. As a psychiatrist with extensive experience in
  treatment of brain-injured patients, Dr. Hewitt may reasonably
  interpret the factual data bearing upon these issues, including
  his own observations of Plaintiff in almost 40 sessions over an
  extended period of time.

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  has not identified any methodology to support this conclusion,

  nor does he tie his biomechanical opinion to physiological facts

  revealed by the anatomical tests performed.

        The question of causation can be resolved by a doctor

  without even medical testing, where the temporal proximity

  between an accident and the subsequent injury make the accident

  the most probable cause of the injury.        See Matlin v. Langkow, 65

  F. App’x 373, 383-84 (3d Cir. 2003); see also Kannankeril, 128

  F.3d at 809 (district court abused its discretion by excluding

  opinion “‘[t]he temporal relationship and the nature of her

  complaints lead me to conclude that with reasonable medical

  certainty, the cause of [the plaintiff's] Central Nervous System

  manifestations of toxicity is exposure to Dursban in 1989 to

  1990,’”); Paoli, 35 F.3d at 759-60.        Dr. Hewitt began treating

  Mr. Thomas approximately a month after the August 2, 2005 milling

  machine accident and Mr. Thomas reported that his symptoms arose

  immediately after the accident.       Under such circumstances, Dr.

  Hewitt could reliably conclude that his traumatic brain injury

  arose as a result of the accident.        The Third Circuit in Paoli

  provided a similar example:

          To provide a simplistic example, imagine a patient
          who comes in with medical records that include
          x-rays showing a fractured arm and who tells the
          doctor that he hurt the arm in a biking accident;
          the doctor could reliably conclude that the patient
          had a fractured arm caused by a biking accident
          even without physically examining the patient or
          taking a medical history. The biking accident is

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            so much more likely to have been the cause of the
            fracture than anything else that there is no need
            to examine alternatives.

  Paoli, 35 F.3d at 759-60.      Having reliably concluded that Mr.

  Thomas suffers from cognitive disorders resulting from a head

  injury, and having found that those symptoms arose after an

  accident that left Mr. Thomas with “an injury to his left wrist,

  acid or heat burns to his face, contusions to the back of his

  head, and altered mental status as well as the inability to

  hear,” (Hewitt Report at 1), Dr. Hewitt can reliably opine this

  Mr. Thomas incurred his brain injury from the milling accident.

  In other words, Dr. Hewitt’s opinion that the battery explosion

  caused the cognitive and emotional disorders from which Mr.

  Thomas suffers is admissible.

                   (c)   Testimony Regarding the Nature of Mr. Thomas’
                         Injury and the Biomechanics of the Injury

        Dr. Hewitt may not, however, testify on direct examination

  as to the physical, biomechanical nature of the neurological

  injury.    Dr. Hewitt does not explain in his report, but testified

  in his deposition, that Mr. Thomas’ brain was injured by the

  force of the blast leading to a “jostling of the brain” called a

  “contracoup,” leading to injuries in four, and possibly five,

  specific areas of the brain.       (Hewitt Dep. at 74.)     Dr. Hewitt

  described his hypothesis regarding Mr. Thomas’ organic brain

  injuries as follows:

            It’s my opinion that there has been damage to the

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          pre-frontal area of the brain and to that part of
          the brain that manages auditory processing in the
          sense of speaking, hearing and thinking in words.
          I think that there’s been damage to the part of
          the brain that manages perceptions of smell and
          taste. I think that there has been damage to the
          occipital nerve either as it exists the back of
          the skull or inside the skull. And there may be
          white matter damage, but that’s an area that
          research is only beginning to address.

  (Id. at 66.)    These injuries were caused, according to Dr.

  Hewitt, by the force of the explosion:

          [] I don’t have any way of saying with certainty.
          I have opinions and I think that there’s medical
          probability   to  my   opinions   that there’s    a
          combination of concussion, the blast itself forcing
          the brain against, to go harshly against the inside
          of the skull and that that caused the damage. How
          much was caused by this bump on the back of his
          head I’m less impressed and have less information
          that’s - if the contact was at the back of his head
          it would have been because the contact here forced
          the brain forward and because it’s here, that would
          force the brain to go up against the skull here.
          And that could be one explanation of the damage to
          this part of the brain. One could also postulate
          that it was the concussion blast itself damaging
          the left pre-frontal.

  (Id. at 74-75.)    Unlike Dr. Hewitt’s methodical analysis of Mr.

  Thomas’ various cognitive systems in order to conclude that they

  arise from a head injury, Dr. Hewitt offers no methodology to

  support what appears to be speculation regarding the nature and

  mechanics of that injury.      Dr. Hewitt admits that he is not a

  biomechanic and has not performed a biomechanical analysis of the

  discrete mechanism of injury in this matter.         (Id. at 31, 42.)

  Nor is Dr. Hewitt a neurologist and he has not performed any


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  neurological testing (or any testing of any kind) regarding the

  physical nature of Mr. Thomas’ alleged brain injuries.           (Id. at

  26-27, 66-70.)    In the absence of any methodology, the Court has

  no way of measuring the reliability of Dr. Hewitt’s opinions

  regarding the psychical happening and biomechanics of the alleged

  organic brain injury and so such testimony must be barred under

  Rule 702.

              3.   Motion to Preclude Mr. Bills’ Testimony

         Plaintiffs seek to preclude the proposed expert testimony of

  Mr. Bills, Defendant’s engineering expert.         Plaintiffs’ maintain

  that Mr. Bills’ testimony that Mr. Thomas, and not the design of

  the PR 800-7, caused the battery explosion, is inadmissible

  because it is both irrelevant and unreliable.13         The Court finds,

  and will explain below, that Mr. Bills’ proposed testimony is

  both reliable and relevant and therefore admissible under Rule

  702.

         The parties agree that in this strict liability design

  defect litigation, Mr. Thomas’ conduct while using the allegedly

  defectively designed milling machine is only relevant insofar as

  it shows that his conduct was the sole proximate cause of the


         13
         Many of Plaintiffs’ objections are founded on the
  assumption that Defendant has proffered Mr. Bills as an expert
  regarding design defect and the cause of Mr. Thomas’ injuries.
  Because it was clarified during oral argument that Mr. Bills will
  testify only regarding the cause of the battery explosion and
  will not testify regarding any design defect or the cause of Mr.
  Thomas’ injuries, the Court need not address these arguments.

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  accident, where there is no suggestion that Mr. Thomas’ use of

  the milling machine was not foreseeable.         See Johansen v. Makita

  U.S.A., Inc., 607 A.2d 637, 641-42, 644-646 (N.J. 1992);

  Ebenhoech v. Koppers Industries, Inc., 239 F. Supp. 2d 455, 460-

  70 (D.N.J. 2002).     Both parties initially engaged in what appears

  to be an argument regarding semantics, with Plaintiffs

  maintaining the Mr. Bills has opined only that Mr. Thomas’

  conduct was only one cause of the accident (making his opinion

  irrelevant), while Defendant insisted that Mr. Bills found

  plaintiff’s conduct to be the sole cause of the accident.           During

  his testimony before this Court, Mr. Bills made plain that it was

  his opinion that Mr. Thomas’ conduct was the sole cause of the

  battery explosion, and thus it is this opinion, its reliability

  and its relevance, that the Court must consider.

        Mr. Bills explained his opinion initially in his written

  report, stating:

          Based upon all information reviewed to date, it is
          the opinion of SEA, Ltd. that the actions of Mr.
          Thomas caused this battery explosion to occur.
          This battery explosion occurred as a result of Mr.
          Thomas wiggling the negative clamp from the Start
          All that was connected to a tank bolt on the
          milling machine, while the Start All was running
          and charging the batteries.   The wiggling of the
          clamp caused a break in the electrical charging
          circuit that resulted in a large spark, which
          ignited hydrogen gas in the area of the batteries
          and the subsequent explosion of one of the
          batteries. The design of the battery compartment
          and battery cables was not defective and did not
          cause this explosion to occur. Mr. Thomas did not
          heed the warnings on the batteries, he did not use

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          proper battery jumping techniques, and he did not
          follow the manufacturer’s warnings and procedures.
          If Mr. Thomas had followed proper battery jumping
          techniques,   this   accident   could   have   been
          prevented.

  (Bills Report at 17) (emphasis in original).         In testimony, Mr.

  Bills elaborated both on his substantial experience in this field

  (Plaintiffs do not challenge his expertise) and his methodology

  at coming to the above conclusion.        Mr. Bills testified that he

  applied the standard scientific methodology outlined in NFPA 921

  to rule out each possible cause of the battery explosion

  (electrical malfunction, Start-All malfunction, battery

  malfunction, storage compartment malfunction) and ultimately

  reach the opinion that Mr. Thomas’ own conduct was the sole cause

  of the explosion.     Mr. Bills applied this methodology to his

  review of all significant documentation of the accident,

  especially the depositions of Mr. Thomas and other witnesses, as

  well as his own inspection of the milling machine.

        First, Mr. Bills explained that the explosion was not the

  result of an electrical malfunction, because the evidence showed

  that following the accident only the batteries needed to be

  replaced in order to restore the machine to working condition.

  Second, Mr. Bills explained that the Start-All did not

  malfunction because it similarly required no repairs.           Third, Mr.

  Bills concluded that the batteries themselves did not malfunction

  and cause the explosion, because had there been an internal


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  failure, Mr. Thomas would not have seen a spark -- rather, there

  would have just been an explosion.        Fourth, based on his

  examination of the storage compartment and photographs taken

  after the accident, Mr. Bills concluded that there was no anomaly

  in the battery storage compartment and no source of ignition from

  the compartment that would have caused the accident.          Finally,

  Mr. Bills considered Mr. Thomas’ own testimony regarding the

  wiggling of the clamps, the spark, and the subsequent explosion,

  and concluded that this conduct alone caused the battery

  explosion at issue here.

        The Court finds that Mr. Bills’ stated methodology and

  significant expertise in the specific field of forensic analysis

  of battery explosions produced a sufficiently reliable opinion to

  satisfy Rule 702.     In addition, the Court finds the report to be

  relevant.    While it may not be all that is required of Defendant

  to prove that only Mr. Thomas, and not any defect in the design

  of the milling machine, caused the injuries Mr. Thomas suffered,

  it is certainly a necessary building block to establish such a

  fact.   Mr. Bills’ examination of other possible causes and his

  opinion ruling out such other causes are also highly relevant to

  the issue of sole causation.       The cause of the battery explosion

  is relevant to Mr. Thomas’ design defect claim arising out of

  injuries sustained following this explosion and the Court will

  not preclude Mr. Bills’ proposed testimony as to this issue.


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        C.      Motions for Summary Judgment

        Defendant has moved for summary judgment on all of

  Plaintiffs’ claims, while Plaintiffs seek partial summary

  judgment solely on the issue of a reasonable safer design.

  Summary judgment is only appropriate when the materials of record

  “show that there is no genuine issue as to any material fact and

  that the moving party is entitled to judgement as a matter of

  law.”      Fed. R. Civ. P. 56(c).   In deciding whether there is a

  disputed issue of material fact, a court must view the evidence

  in favor of the non-moving party by extending any reasonable

  favorable inference to that party; in other words, “the nonmoving

  party’s evidence ‘is to be believed, and all justifiable

  inferences are to be drawn in [that party’s] favor.’”           Hunt v.

  Cromartie, 526 U.S. 541, 552 (1999) (quoting Anderson v. Liberty

  Lobby, Inc., 477 U.S. 242, 255 (1986)).        “[T]he judge’s function

  is not himself to weigh the evidence and determine the truth of

  the matter but to determine whether there is a genuine issue for

  trial.”      Anderson, 477 U.S. at 249.    As now discussed, there are

  presently material facts in dispute which preclude summary

  judgment on Plaintiffs’ design defect claim.14




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         Defendant also seeks summary judgment on Plaintiffs’
  failure-to-warn claim. Because Plaintiffs have agreed to dismiss
  this claim, the Court will grant Defendant’s motion for partial
  summary judgment on this issue alone.

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             1.    Defendant’s Motion for Summary Judgment

        Defendant maintains that Plaintiffs have failed to submit

  any evidence from which a reasonable factfinder could conclude

  that a defect exists in the design of the PR 800-7 so that this

  claim must fail.     As a consequence, Defendant argues, Mrs.

  Thomas’ derivative claim for loss of consortium must fail.           The

  Court disagrees with Defendant.       Plaintiffs have presented

  evidence, in the form of Mr. Page’s expert report and Mr.

  Phillips’ testimony during deposition, that the design of the

  battery compartment (its small size) and the proximity of the

  charging terminals to the batteries caused Mr. Thomas’ injuries

  because Mr. Thomas was not protected from the explosion.           It

  matters not whether Mr. Thomas was injured by striking the

  milling machine (though there is some evidence from which a

  reasonable jury could conclude that Mr. Thomas struck his head on

  the machine) or whether the batteries exploded because of the

  design of the machine, because Mr. Page has opined that the

  danger comes from the design of the charging mechanism such that

  Mr. Thomas would be in close proximity to the batteries while the

  batteries were charging.      (Page Report at 17-20.)      While it is

  true, as Defendant points out, that Mr. Page’s design would not

  prevent Mr. Thomas from checking the connection of the charging

  cables, under the new design, if Mr. Thomas checked the

  connection of the charging cables those cables would be attached


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  to an external terminal, far from the batteries at the charging

  terminals, so any spark would occur outside the battery

  compartment and battery explosion would occur behind heavy metal

  plates.15   From this, a reasonable jury could conclude that any

  defect in the design of the machine caused the injuries that Mr.

  Thomas suffered from the explosion.

        Therefore, the Court will decline to grant summary judgment

  on Mr. Thomas’ claims of design defect.        Having declined to grant

  summary judgment on Mr. Thomas’ design defect claim, the Court

  will similarly decline to dismiss Mrs. Thomas’ claims solely on

  the grounds that they are derivative.

              2.   Plaintiffs’ Motions for Partial Summary Judgment

        Plaintiffs seek partial summary judgment on the issue of a

  reasonable safer design theory, arguing that Defendant’s engineer

  and designer of the PR 800-7 has admitted that a reasonable safer

  alternative design exists and existed at the time of the design

  of the PR 800-7.     While it is true that Mr. Phillips testified

  that external charging terminals were technically feasible,

  (Phillips Dep. at 164), and further that a spark at a remote

  terminal would not endanger a mechanic, (id. at 166-67), Mr.


        15
         That a mechanic will still have to check the actual
  batteries before charging, or that in certain circumstances it
  may become necessary for a mechanic to come close to the
  batteries while actually charging the batteries, does not mean
  that under the circumstances of this case, Mr. Page’s design is
  not a safer alternative that would have prevented Mr. Thomas’
  injury. It need not eliminate all potential risks to be safer.

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  Phillips generally objected to the conclusion that his design was

  unreasonably dangerous, (id. at 175-76):

          Q.    In doing a hazard analysis, whether you do it
                formally or informally, did you perceive any
                potential   hazard concerning   the   battery
                compartment,   batteries   or  charging   the
                batteries?
          . . .
          A.    Well, I guess – I realize that there could be
                – there was a hazard there because I can read
                it. I mean, it’s on every battery.
          . . .
                And so, sure, you give it consideration. But
                I believe we did address the problem. I mean,
                I addressed the problem in design.
          Q.    Okay. That’s the next step. What - how did
                you intend to address the hazard you just
                identified, or just spoke about?
          A.    Well, we have to have access to the batteries
                if they’re down and you need to charge them.
                So you can’t really lock the terminals under
                some plate and hook up cables to them.       I
                mean, so you cant’ - I don’t think you can
                design it by - out.     You can’t design that
                hazard out. You’ve got to have them, you’ve
                got to have them charged. They’ve got to be
                accessible.
                Okay.    So then on the battery, it warns
                against - we use batteries that have a warning
                on them.    And so you warn - it’s warned
                against. And then we put it in our manuals.
                We give a procedure that’s accepted worldwide
                for boosting a battery set or charging the
                batteries.

  (Phillips Dep. at 175-76.)      Mr. Phillips also submitted a report

  in which he challenged, however obliquely, the overall safety of

  Mr. Page’s proposed alternative design, stating that it “requires

  more components, creates more points of contact for maintenance

  workers, and results in more potential problems for those working

  in and around the machine.”      (Phillips Report at 3.)      Taken

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  together with Mr. Bills’ challenge to the feasibility of Mr.

  Page’s alternative design, the Court must conclude that the

  reasonableness and the safety of Mr. Page’s alternative design

  are in dispute and summary judgment is not warranted on this

  issue.

  III. CONCLUSION

        For the foregoing reasons, the Court will deny in full

  Defendant’s motion to preclude the expert testimony of Mr. Page.

  The Court will grant in part and deny in part Defendant’s motion

  to preclude the expert testimony of Dr. Hewitt.          The Court will

  preclude Dr. Hewitt from testifying regarding the physical

  characteristics and biomechanism of Mr. Thomas’ alleged brain

  injury, but Dr. Hewitt may offer testimony regarding Mr. Thomas’

  alleged cognitive disorders and emotional deficits secondary to a

  head injury arising out of the August, 2005 accident.           The Court

  will deny Plaintiffs’ motion to preclude Mr. Bills’ testimony.

  Finally, the Court will deny both Plaintiffs’ motion for partial

  summary judgment and Defendant’s motion for summary judgment as

  to Plaintiffs’ design defect claim, but will grant summary

  judgment to Defendant on Plaintiffs’ failure-to-warn claim, as

  conceded by Plaintiffs.

           The accompanying Order shall be entered.



  September 21, 2009                        s/ Jerome B. Simandle
  Date                                     JEROME B. SIMANDLE
                                           United States District Judge

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